Case 4:22-cr-00253-P Document11 Filed 08/30/22 Pageiof1i PagelD 15

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IN THE UNITED STATES DISTRICT COURT = [~~ oo
FOR THE NORTHERN DISTRICT OF TEXAS .
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UNITED STATES OF AMERICA § ee
V. § 4:22-CR-253-P

§
LAUREN WHITNEY MOORE §

ORDER PURSUANT TO FEDERAL RULE CRIMINAL PROCEDURE 5(f)

This written order is entered pursuant to Rule 5(f)(1) of the Federal Rules of Criminal

Procedure, and is entered by the court on the first scheduled court date when both the prosecutor
and defense counsel are present.

As to the above named defendant, by this order -- issued to the prosecution and defense
counsel -- the court confirms the disclosure obligations of the prosecutor under Brady v.
Maryland, 373 U.S. 83 (1963), and its progeny, and the possible consequences of violating such
order under applicable law. Failure to do so may result in consequences such as the dismissal of
the indictment or information, dismissal of individual charges, exclusion of evidence or
witnesses, adverse jury instructions, contempt proceedings, and/or sanctions by the court.

  
 

 

Signed: August 30, 2022 Cc SEONETON
UNITED a ATES MAGISTRATE JUDGE

 
